           Case 2:10-cr-00178-MCE Document 47 Filed 08/25/10 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     GLENN WATKINS
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. 2:10-cr-00178-MCE
                                        )
12             Plaintiff,               )   STIPULATION AND ORDER RE:
                                        )   CONTINUANCE OF STATUS HEARING AND
13        v.                            )   FINDINGS OF EXCLUDABLE TIME
                                        )
14   JAKE WEATHERS, et al.,             )   DATE: October 14, 2010
                                        )   TIME: 9:00 a.m.
15             Defendants.              )   JUDGE: Hon. Morrison C. England Jr.
16   _____________________________
17        GLENN WATKINS, by and through his counsel, DENNIS S. WAKS,
18   Supervising Assistant Federal Defender, JAKE WEATHERS, by and through
19   his counsel, HAYES GABLE, KEVIN WATKINS, by and through his counsel,
20   DAN F. KOUKOL, FREDERICK DAVIS, by and through his counsel JOSEPH J.
21   WISEMAN, PAUL YEARBY, JR., by and through his counsel BRUCE LOCKE and
22   the United States Government, by and through its counsel, RUSSELL
23   CARLBERG, Assistant United States Attorney, hereby agree that the
24   status conference set for August 26, 2010, be continued to a status
25   conference on October 14, 2010, at 9:00 a.m.        This continuance is
26   requested because counsel for the defendant requires additional time to
27   obtain and review discovery, continue our investigation, and to
28   interview our clients and other witnesses.
           Case 2:10-cr-00178-MCE Document 47 Filed 08/25/10 Page 2 of 3


1    The government is in the process of providing the defendant’s with over
2    9000 pages of discovery. The defendants in this case consent to this
3    continuance.
4         Counsel, along with the defendants agree that the time from the
5    date of this order through October 14, 2010, should be excluded in
6    computing the time within which trial must commence under the Speedy
7    Trial Act, §3161(h)(7)(A)and(B)(iv) and Local Code T4. [reasonable time
8    to prepare].
9
10
11   DATED: August 20, 2010           Respectfully submitted,
12                                    DANIEL J. BRODERICK
                                      Federal Defender
13
14
                                      /S/ Dennis S. Waks
15                                    DENNIS S. WAKS
                                      Supervising Assistant Federal Defender
16                                    Attorney for Defendant
                                      GLENN WATKINS
17
18
                                      /s/ Dennis S. Waks for
19                                    HAYES GABLE, attorney for
                                      JAKE WEATHERS
20
21
                                      /S/ Dennis S. Waks
22                                    DAN F. KOUKOL, attorney for
                                      KEVIN WATKINS
23
24
                                      /S/ Dennis S. Waks
25                                    JOSEPH J. WISEMAN,, attorney for
                                      FEDERICK DAVIS
26
27
28


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          Case 2:10-cr-00178-MCE Document 47 Filed 08/25/10 Page 3 of 3


1                                    /S/ Dennis S. Waks
                                     BRUCE LOCKE, attorney for
2                                    PAUL YEARBY, JR.
3                                    BENJAMIN B. WAGNER
                                     United States Attorney
4
                                     /S/ Dennis S. Waks for
5                                    RUSSELL CARLBERG
                                     Assistant United States Attorney
6
7
                                      O R D E R
8
9        IT IS SO ORDERED.
10
     Dated: August 24, 2010
11
12                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
13
                                         UNITED STATES DISTRICT JUDGE
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